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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

KAREN G. MALOOF,

               Plaintiff,
                                                   Civil Action File No.
v.
                                              _________________________
CITY OF PALM BAY; CITY OF
PALM BAY POLICE                                JURY TRIAL DEMANDED
DEPARTMENT; and CODY
SPAULDING, individually;

               Defendants.

                                    COMPLAINT

        Karen G. Maloof (“Plaintiff or “Maloof”) brings this action pursuant to 42

U.S.C. §§ 1983 and 1988 to enforce her rights under the Fourth and Fourteenth

Amendments to the United States Constitution, and pursuant to Florida law, against

Defendants City of Palm Bay (“Palm Bay”), City of Palm Bay Police Department

(“Palm Bay PD”) and Cody Spaulding (“Defendant Spaulding”) seeking damages

and other relief as the Court deems just and proper, respectfully showing as follows.

                                  INTRODUCTION

     1. This is a civil action asserting claims under Federal and State law arising from

the unlawful arrest, detention and prosecution of the Plaintiff caused by the willful
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and wrongful acts of the Defendants. Plaintiff demands a jury trial and seeks an

award of economic, compensatory, and punitive damages, as well as an award of

attorneys’ fees and litigation costs.

                          JURISDICTION AND VENUE

   2. This Court has jurisdiction over the federal claims asserted in this action

pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3),(4). This Court also has

jurisdiction over the related state law claims under 28 U.S.C. § 1367(a), as they form

part of the same case or controversy as the federal claims.

   3. Pursuant to 28 U.S.C. § 1391, venue is proper in this Court because the acts,

events, and occurrences giving rise to Maloof’s claims took place in the City of Palm

Bay, located in Brevard County, Florida, which is within this judicial District and

Division.

                                        PARTIES

   4. Plaintiff is a 54-year-old female, a citizen of the United States and resident of

the State of Georgia.

   5. The City of Palm Bay is a political subdivision of the State of Florida. It is

located in Brevard County, Florida. Palm Bay may be served with summons and

process by and through Mayor Rob Medina at 120 Malabar Road, Palm Bay, Florida

32907. The City is subject to jurisdiction of this Court.

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   6. Upon information and belief, the City of Palm Bay has purchased liability

insurance to protect the City and its employees for damages arising from acts or

omissions of its law enforcement officials committed during the course and scope of

their employment.

   7. The City of Palm Bay Police Department is a creation of the City of Palm

Bay, and at all times material hereto, The City of Palm Bay Police Department

employed Defendant Spaulding. The City of Palm Bay Police Department may be

served this complaint and summons through its attorneys of record.

   8. Defendant Cody Spaulding is a field training officer in the City of Palm Bay

Police Department. At all times material hereto, Defendant Spaulding, individually,

was acting under color of law as a field training officer for the City of Palm Bay

Police Department. Defendant Spaulding may be served process by delivering a

copy of the complaint and summons at his last known place of residence or wherever

he may be found.

   9. Plaintiff sues Defendant Spaulding in his individual capacity.

                          FACTUAL BACKGROUND

   10. Maloof is a resident of Atlanta, Georgia.

   11. Maloof’s Georgia-issued driver’s license was stolen in March of 2017.

   12. Maloof immediately reported the loss of her license and obtained a

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replacement license from the Georgia Department of Driver Services.

   13. Maloof’s stolen license was fraudulently used by thieves to rent a moving

truck from U-Haul Moving & Storage of Palm Bay (“U-Haul”) in Palm Bay, Florida

on November 13, 2022.

   14. U-Haul allowed the perpetrators to rent the truck remotely via text message

and other electronic means with no verification of the renter’s actual identity.

   15. The perpetrators had no in-person contact with U-Haul.

   16. The perpetrators electronically provided U-Haul with a copy of Maloof’s

stolen license.

   17. Other information and documents provided by the thieves include Maloof’s

correct Atlanta address via the stolen license, a fraudulent Florida telephone number,

an unverified email address, and a fake physical address for Maloof in Florida, that

did not match the address on the stolen license.

   18. The perpetrators identified Melissa Rush and Sherry Baily as additional

contacts for the rental. These additional contacts were supplemented by two

additional fake Florida phone numbers.

   19. The perpetrators also provided a “selfie” photograph intended to verify that

the renter matched the identification card provided.

   20. It is clear when comparing the two photographs that they represent two

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distinct individuals.




   21. Maloof had no knowledge of these fraudulent rental activities.

   22. Maloof had never made contact with U-Haul, had never been to the City of

Palm Bay, and did not steal the van in question.

   23. After the rented truck was not returned, U-Haul sent a demand letter to the

fake Florida address provided by the thieves, requesting Maloof return the stolen

property. However, the letter was returned as undelivered because no such address

exists.

   24. U-Haul never attempted to contact Maloof at the address appearing on her

stolen driver’s license.

   25. U-Haul contacted Palm Bay Police Department to pursue criminal charges

against Maloof.

   26. Based on the above facts in paragraphs 15 – 24, no reasonable police officer

could have investigated the available evidence and concluded that Maloof was the
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suspect in the U-Haul theft.

   27. Defendant Spaulding, without further inquiry, completed a Probable Cause

Affidavit that resulted in the issuance of a capias request to the State Attorney’s

office to assert charges of Grand Theft Motor Vehicle and Failure to Return Hired

or Leased Property against Maloof.




   28. Defendant Spaulding conducted no independent investigation of the facts

underlying his probable cause affidavit.

   29. Defendant Spaulding swore in his Probable Cause Affidavit that “a customer

by the name of Karen Maloof (DOB: 11/12/1969) rented a van from them.” This

false, and conclusory statement failed to acknowledge that U-Haul never engaged in

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any in-person contact with Maloof.

   30. Defendant Spaulding swore in his Probable Cause Affidavit that “[U-Haul]

sent the letter demanding return of the property via certified mail on 11/22/2022 to

the address provided on the contact by Karen (5449 Lake Poinsett Dr Cocoa, FL

32026). They received a notice that the letter was unable to by delivered due to ‘no

such number’ existing.” Defendant Spaulding failed to indicate that this address is

different than the address on Maloof’s ID. Defendant Spaulding further failed to

indicate that no attempt was made to contact Maloof at the address on her ID.

   31. Defendant Spaulding swore in his arrest affidavit that “A teletype query

revealed [Maloof] had no local history in CAD.” “It should be noted that when I

input the address [Maloof] provided into Google Maps, it showed the middle of the

roadway.”

   32. Despite his concerns noted above, Spaulding submitted his Probable Cause

Affidavit one day later, with no information included beyond what U-Haul provided.

   33. Defendant Spaulding swore in his affidavit that “I was also provided with a

copy of the demand letter, the receipt for the certified delivery and, the rental

contract.” Despite having the rental contract, Defendant Spaulding failed to indicate

the obvious red flags.

   34. Defendant Spaulding never indicated the discrepancy in the photograph

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identifications provided.

   35. Defendant Spaulding never indicated that the email address on the rental

contract ekent1728@gmail.com, is uncorrelated to the name Karen Maloof, and

uncorrelated to any of the additional contact names provided.

   36. Defendant Spaulding never indicated that the rental was initiated by text-

message.

   37. Defendant Spaulding never acknowledged the fake phone number used on

the rental application, nor the fake phone numbers provided for the two additional

rental contacts.

   38. Defendant Spaulding never attempted to contact Maloof at her Atlanta

address, which he used to fill out the probable cause affidavit.

   39. Defendant Spaulding never made any effort to find a valid telephone number

for Maloof using the information on her driver’s license.

   40. Defendant Spaulding never attempted to contact the additional rental contacts

provided. Defendant Spaulding did not indicate that these additional contacts existed

when he completed his Probable Cause Affidavit.

   41. Defendant Spaulding’s conclusion that Maloof rented the van from U-Haul

and committed Grand Theft of a Motor Vehicle and Failure to Return Hired or

Leased Property was completely unsupported by the available reasonable facts.

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   42. Defendant Spaulding acted with actual malice when he pursued the

prosecution of Maloof, despite the fact there was never probable cause to believe

Maloof had committed a crime.

   43. Defendant Spaulding did not have arguable probable cause to believe that

Maloof had committed any of the crimes set forth in the indictment.

   44. The indictment would not have been returned but for Defendant Spaulding’s

constitutionally deficient investigation, conclusory statements, false statements,

material omissions, and false testimony.

   45. Defendant Spaulding’s investigation was grossly insufficient and failed to

meet the most basic standards of investigative techniques.

   46. Following the submission of the Probable Cause Affidavit created by

Defendant Spaulding, an arrest warrant was issued by the City of Palm Bay.

   47. On May 19, 2023, Maloof and her husband travelled to Atlanta’s Hartsfield-

Jackson International Airport.

   48. Maloof had been taking golf lessons for a year in anticipation of a trip to

Scotland with her husband. In 27 years of marriage, the couple had only been to

Europe once before.

   49. After passing through security, Maloof was accosted at her departure gate by

numerous federal law enforcement officers armed with assault-style weapons and

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police dogs. She was forcibly separated from her husband and paraded through the

world’s busiest airport to be detained.

   50. Maloof was then told that there was a warrant for her arrest for grand theft

auto, larceny, and fleeing from Justice in the State of Florida.

   51. Maloof had her belongings confiscated and was denied any right to speak to

her husband.

   52. Maloof spent several hours in a detention room where she remained in

handcuffs.

   53. Maloof was then transported to Clayton County Jail, infamously known as

“ClayCo.” Despite her pleas, Maloof was denied the chance to give an explanation

and told to “shut up” any time she spoke to the arresting officers.

   54. Within ClayCo, Maloof was locked in a holding cell with a dozen other

women, several of which were high on methamphetamines and heroin, screaming,

passing out, and bleeding due to the drugs.

   55. Maloof was then processed and subjected to a full body cavity search in front

of other prisoners and guards. Her shoes, clothes, and underwear were taken from

her and replaced with ill-fitting prison scrubs.

   56. Maloof was forced to take a group shower with other inmates in cold water,

only to be returned to the group holding cell.

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   57. Throughout the duration of her detention, Maloof was denied food, water, or

communication with her family.

   58. The following evening, Maloof received her first “hearing,” when she spoke

over a television monitor to an unknown judicial officer who informed her that she

would be expedited to Florida to face felony charges.

   59. Maloof was advised that if extradited, she would be forced to travel and be

processed into several other Georgia jails as other inmates were gathered to make

the trip. The trip could take up to eight days.

   60. After over 24 hours without food, Maloof was served a plastic bag of rancid

lunch meat and wet white bread. The food was thrown at her through the prison bars.

   61. Maloof was then able to speak with her husband over a single monitor. He

informed her that he posted bail in Florida, however, he had no information about

her release, and she would be returned to her cell where fluorescent lights shined 24

hours per day.

   62. Finally, through intervention with the Sheriff, Maloof was able to speak with

her husband, through bullet-proof glass.

   63. Through significant expenditure in legal fees, Maloof was released on

Monday evening, May 22, 2023.

   64. Maloof’s release was not the end of the experience, as charges remained

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pending for months.

   65. All this fear, trouble, and legal expenditure could have been avoided but for

the lack of care on behalf of Defendant Spaulding, the City of Palm Bay, and the

City of Palm Bay Police Department.

   66. The state of Florida entered a Nolle Prosequi as to all counts against Maloof

on May 31, 2023.

                             CLAIMS FOR RELIEF

    COUNT I: “Franks v. Delaware” Claim Against Defendant Spaulding,
                  Cognizable under 42 U.S.C. § 1983

   67. Plaintiff incorporates by reference the allegations of paragraphs 1 through 66

above as though fully set forth herein.

   68. At all times material hereto, Spaulding had a duty to conduct a reasonable

investigation to establish probable cause, especially where the information necessary

for Spaulding to complete his investigation was readily obtainable, and where U-

Haul provided Spaulding with all the information a reasonably prudent police officer

in Spaulding’s position would have needed to confirm Maloof was not the actual

perpetrator.

   69. Spaulding willfully ignored readily available, exculpatory evidence that

would have prevented the issuance of a warrant for Maloof’s arrest.

   70. Spaulding proximately caused Maloof’s incarceration based on the false
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statements, conclusory statements and material omissions contained in the Probable

Cause Affidavit submitted by Spaulding.

   71. Spaulding knew or should have known with slight diligence that the facts he

relied upon were false.

   72. No reasonably well-trained police officer in Spaulding’s position would have

completed the Probable Cause Affidavit against Maloof without additional

investigation due to the discrepancies in the photos provided, the multiple addresses

provided, and the unrelated email address provided.

   73. The inconsistencies in the true suspect’s identity gave rise to Spaulding’s

legal obligation to conduct a more thorough investigation.

   74. Defendant Spaulding knowingly and deliberately, or with reckless disregard

for the truth, made false statements, conclusory statements, and material omissions

in his arrest warrant affidavit, which were clearly critical to a finding of probable

cause, and any reasonable police officer in Spaulding’s position would have known

the statements and material omissions would result in the issuance of an arrest

warrant for Maloof in the absence of probable cause, in violation of her clearly

established rights as secured by the Fourth and Fourteenth Amendments to the

United States Constitution.

   75. As a direct and proximate result of Spaulding’s conduct described herein, in

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violation of 42 U.S.C. § 1983, Maloof has suffered greatly, and with much

humiliation, mental suffering, and damaged reputation.

   76. As a further direct and proximate result of Spaulding’s conduct, Maloof

suffered the loss of her liberty and freedom, resulting in pain and suffering, mental

anguish, and loss of capacity for the enjoyment of life. The losses are either

permanent or continuing and Maloof will suffer the losses in the future, in violation

of her civil rights.

    COUNT II: Malicious Prosecution under 42 U.S.C. § 1983 – Defendant
                               Spaulding

   77. Plaintiff incorporates by reference the allegations of paragraphs 1 through 76

above as though fully stated forth herein.

   78. This claim is brought pursuant to 42 U.S.C. § 1983 and the Fourth and

Fourteenth Amendments to the United States Constitution.

   79. At all times relevant to this action, Spaulding was acting under color of state

law and within the scope of his discretionary function as an employee of the City of

Palm Bay Police Department.

   80. Maloof was seized and detained against her will in connection with

Defendant Spaulding’s prosecution, said prosecution having been instituted with

malice and without probable cause.

   81. The prosecution terminated in Maloof’s favor on May 31, 2023.
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    82. Spaulding knowingly and willfully instituted and maintained a criminal

prosecution against Maloof with malice and without probable cause.

    83. Under the facts and circumstances alleged herein, objectively reasonable law

enforcement officers would have known that instituting and maintaining a criminal

prosecution of a citizen under the circumstances described herein violated the Fourth

Amendment of the United States Constitution.

    84. At all times relevant to this action, the law was clearly established that

instituting and maintaining a criminal prosecution of a citizen under the

circumstances described herein violated the Fourth Amendment of the United States

Constitution.

    85. As a direct and proximate result of Spaulding’s unlawful action, Maloof was

seized and detained against her will and subjected to criminal prosecution in

violation of her rights under the Fourth Amendment of the United States

Constitution.

    86. As a direct and proximate cause of Spaulding’s unlawful actions, Maloof has

and will continue to incur economic damages including lost wages, loss of economic

opportunity, as well as other economic damages in an exact amount to be proven at

trial.

    87. As a direct and proximate cause of Spaulding’s unlawful actions, Maloof has

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experienced pain, suffering, emotional distress, anxiety, humiliation, outrage and

loss of reputation entitling her to an award of compensatory damages in an amount

to be determined by the enlightened conscience of the jury.

   88. The actions described herein were willful, deliberate, and malicious, thereby

entitling Maloof to an award of punitive damages against Spaulding in an amount to

be determined by the enlightened conscience of the jury.

   COUNT III: False Arrest under 42 U.S.C. § 1983 – Defendant Spaulding

   89. Plaintiff incorporates by reference the allegations of paragraphs 1 through 88

above as though fully set forth herein.

   90. This claim is brought pursuant to 42 U.S.C. § 1983 and the Fourth and

Fourteenth Amendments to the United States Constitution.

   91. At all times relevant to this action, Spaulding was acting under color of state

law and within the scope of his discretionary functions as an employee of the City

of Palm Bay.

   92. Spaulding knew or should have known that no arguable probable cause

existed to believe that Maloof had committed Grand Theft Motor Vehicle, a third-

degree felony (Fla. Stat. Ann. § 812 (2)(c)(6)).

   93. Spaulding knew or should have known that no arguable probable cause

existed to believe that Maloof had committed Failure to Return Hired or Leased

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Property (Fla. Stat. Ann. § 812,155(3)).

   94. Under the facts and circumstances alleged herein, an objectively reasonable

police officer in Spaulding’s position would have known that no arguable probable

cause existed to support Maloof’s prosecution.

   95. At all times relevant to this action, the law was clearly established that

Spaulding’s actions violated Maloof’s Fourth and Fourteenth Amendment rights.

   96. The prosecution terminated in Maloof’s favor on May 31, 2023.

   97. As a direct and proximate cause of Spaulding’s unlawful actions, Maloof was

seized and detained against her will and thereby suffered a severe loss of liberty in

violation of her rights under the Fourth and Fourteenth Amendments to the United

States Constitution, entitling Maloof to an award of actual and compensatory

damages in an amount to be determined by the enlightened conscience of the jury.

   98. The actions described herein were willful, deliberate, and malicious, thereby

entitling Maloof to an award of punitive damages against Spaulding in an amount to

be determined by the enlightened conscience of the jury.

   COUNT IV: 42 U.S.C. § 1983 Monell Liability – City of Palm Bay and City
                    of Palm Bay Police Department

   99. Plaintiff incorporates by reference the allegations of paragraphs 1 through 98

above as though fully set forth herein.

   100.      This claim is brought pursuant to 42 U.S.C. § 1983 and the Fourth and
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Fourteenth Amendments to the United States Constitution.

   101.      The wrongful acts and omissions of Spaulding complained of herein

were performed in the course and scope of his employment with the City of Palm

Bay.

   102.      The City of Palm Bay and the City of Palm Bay Police Department have

in place policies and customs that allow police officers to issue warrants for arrest

without sufficient investigation protocols in place to ensure the existence of probable

cause.

   103.      The acts and omissions of Spaulding were committed in accordance

with the policies and customs of the City of Palm Bay and its Police Department and

caused the illegal arrest, detention, and prosecution of Maloof with malice and

without probable cause.

   104.      The City of Palm Bay and the City of Palm Bay Police Department

failed to adequately train its officers, including Spaulding, in the proper investigation

of felony grand larceny.

   105.      The policies and customs of the City of Palm Bay and the City of Palm

Bay Police Department caused Maloof’s unlawful arrest and prosecution. As such,

Palm Bay is liable to Maloof under federal law. See, Monell v. Dep’t of Soc. Servs.,

436 U.S. 658, 98 S. Ct. 2018 (1978).

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   106.      As a direct and proximate cause of the City’s policies and customs,

Maloof has and will continue to incur economic damages including lost wages, loss

of economic opportunity, as well as other economic damages in an exact amount to

be proven at trial.

   107.       As a direct and proximate cause of the City’s policies and customs,

Maloof has experienced pain, suffering, emotional distress, anxiety, humiliation,

outrage, and loss of reputation entitling her to an award of compensatory damages

in an amount to be determined by the enlightened conscience of the jury.

   COUNT V: Malicious Prosecution under State Law – Defendant Spaulding

   108.       Plaintiff incorporates by reference the allegations of paragraphs 1

through 107 above as though fully set forth herein.

   109.       Spaulding commenced and caused the prosecution against Maloof

without probable cause or arguable probable cause.

   110.       The prosecution terminated in Maloof’s favor on May 31, 2023.

   111.       Spaulding acted with actual malice and was guilty of wanton and

willful disregard of the rights and feelings of Maloof.

   112.       As a direct and proximate result of Spaulding’s unlawful action,

Maloof was seized and detained against her will and subjected to criminal

prosecution in violation of her rights.

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   113.       As a direct and proximate cause of Spaulding’s unlawful actions,

Maloof has and will continue to incur economic damages including lost wages, loss

of economic opportunity, as well as other economic damages in an exact amount to

be proven at trial.

   114.       As a direct and proximate cause of Spaulding’s unlawful actions,

Maloof has experienced pain, suffering, emotional distress, anxiety, humiliation,

outrage and loss of reputation entitling her to an award of compensatory damages in

an amount to be determined by the enlightened conscience of the jury.

   COUNT VI: False Arrest under State Law – Defendant Spaulding

   115.       Plaintiff incorporates by reference the allegations of paragraphs 1

through 114 above as though fully set forth herein.

   116.       Spaulding initiated the unlawful detention and deprivation of Maloof’s

liberty and person against her will.

   117.       Spaulding knew or should have known that no arguable probable cause

existed to believe that Maloof had committed Grand Theft Motor Vehicle, a third-

degree felony (Fla. Stat. Ann. § 812 (2)(c)(6)).

   118.       Defendant Spaulding knew or should have known that no arguable

probable cause existed to believe that Maloof had committed Failure to Return Hired

or Leased Property (Fla. Stat. Ann. § 812,155(3)).

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   119.      The prosecution terminated in Maloof’s favor on May 31, 2023.

   120.      Spaulding acted with actual malice and was guilty of wanton and willful

disregard of the rights and feelings of Maloof.

   121.       As a direct and proximate result of Spaulding’s unlawful action,

Maloof was seized and detained against her will and subjected to criminal

prosecution in violation of her rights.

   122.       As a direct and proximate cause of Spaulding’s unlawful actions,

Maloof has and will continue to incur economic damages including lost wages, loss

of economic opportunity, as well as other economic damages in an exact amount to

be proven at trial.

   123.       As a direct and proximate cause of Spaulding’s unlawful actions,

Maloof has experienced pain, suffering, emotional distress, anxiety, humiliation,

outrage and loss of reputation entitling her to an award of compensatory damages in

an amount to be determined by the enlightened conscience of the jury.

   COUNT VII: Malicious Prosecution under State Law - City of Palm Bay

   124.       Plaintiff incorporates by reference the allegations of paragraphs 1

through 123 above as though fully set forth herein.

   125.       The wrongful acts and omissions of Spaulding complained of herein

were performed in the course and scope of his employment with the city of Palm

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Bay.

   126.       The acts and omissions of Spaulding set forth herein caused the illegal

arrest, detention and prosecution of Maloof with malice and without probable cause.

   127.       The City of Palm Bay is liable for the acts and omissions of its

employee Spaulding resulting in the illegal arrest, detention and prosecution of

Maloof with malice and without probable cause.

   128.       The prosecution terminated in Maloof’s favor on May 31, 2023.

   129.       As a direct and proximate cause of Spaulding’s unlawful actions,

Maloof has and will continue to incur economic damages including lost wages, loss

of economic opportunity, as well as other economic damages in an exact amount to

be proven at trial.

   130.       As a direct and proximate cause of the Spaulding’s unlawful actions,

Maloof has experienced pain, suffering, emotional distress, anxiety, humiliation,

outrage and loss of reputation entitling her to an award of compensatory damages in

an amount to be determined by the enlightened conscience of the jury.

          COUNT VIII: False Arrest under State Law - City of Palm Bay

   131.       Plaintiff incorporates by reference the allegations of paragraphs 1

through 130 above as though fully set forth herein.

   132.       The wrongful acts and omissions of Defendant Spaulding complained

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of herein were performed in the course and scope of his employment with the City

of Palm Bay.

   133.        The acts and omissions of Spaulding set forth herein caused the illegal

arrest, detention, and prosecution of Maloof with malice and without probable cause.

   134.        The prosecution terminated in Maloof’s favor on May 31, 2023.

   135.        The City of Palm Bay is liable for the acts and omissions of its

employee Spaulding resulting in the illegal arrest, detention, and prosecution of

Maloof with malice and without probable cause.

   136.        As a direct and proximate cause of the defendants’ unlawful actions,

Maloof has and will continue to incur economic damages including lost wages, loss

of economic opportunity, as well as other economic damages in an exact amount to

be proven at trial.

   137.        As a direct and proximate cause of the defendants’ unlawful actions,

Maloof has experienced pain, suffering, emotional distress, anxiety, humiliation,

outrage and loss of reputation entitling her to an award of compensatory damages in

an amount to be determined by the enlightened conscience of the jury.

      WHEREFORE, Plaintiff prays that the Court find in her favor with respect

to the above counts, and order the following relief:

      (a)    Grant Plaintiff a trial by jury on all appropriate issues;

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   (b)   Award damages against all Defendants for Plaintiff’s economic losses

         in an amount to be determined at trial;

   (c)   Award damages against all Defendants for the extreme pain and

         suffering Plaintiff experienced in an amount to be determined at trial;

   (d)   Punitive damages against Spaulding for his intentional and grossly

         negligent wrongful actions;

   (e)   Award Plaintiff her costs and attorney’s fees incurred as a result of

         Defendants’ wrongful acts;

   (f)   Such other and further relief as the Court may deem just and proper

         under the facts presented at trial.

  Respectfully submitted this 5th day of February, 2025.

                                            /s/ C. Ryan Morgan
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